        Case 4:24-cv-01903 Document 9 Filed on 10/03/24 in TXSD Page 1 of 2




                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 MAXIEL DE LA GARZA,                                  §
                                                      §
           Plaintiff,                                 §
                                                      §
 v.                                                   §     Civil Action No. 4:24-cv-1903
                                                      §
 WELLS FARGO BANK, N.A., AS                           §
 TRUSTEE FOR OPTION ONE                               §
 MORTGAGE LOAN TRUST 2007-FXD2                        §
 ASSET-BACKED CERTIFICATES                            §
 SERIES 2007-FXD2,                                    §
                                                      §
          Defendant.                                  §

                              JOINT NOTICE OF SETTLEMENT

         Plaintiff Maxiel de la Garza and Defendant Wells Fargo Bank, N.A., as Trustee for Option

One Mortgage Loan Trust 2007-FXD2 Asset-Backed Certificates Series 2007-FXD2 file this

Notice of Settlement and respectfully report to the Court as follows:

         Plaintiff and Defendant have reached an agreement, in principle, to resolve the claims that

Plaintiff asserts against Defendant. The Parties are in the process of finalizing the formal

settlement agreement and executing it. The Parties anticipate filing an agreed motion to dismiss

without prejudice in the next forty-five (45) days.

Dated: October 3, 2024.




HB: 4857-3273-9308.1
        Case 4:24-cv-01903 Document 9 Filed on 10/03/24 in TXSD Page 2 of 2




                                            Respectfully Submitted,

                                            VILT LAW, P.C.
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                                            Attorney for Defendant, Wells Fargo Bank, N.A., as
                                            Trustee for Option One Mortgage Loan Trust 2007-
                                            FXD2 Asset-Backed Certificates Series 2007-FXD2



                                CERTIFICATE OF SERVICE
         The undersigned herby certifies that a true and correct copy of the foregoing has been

electronically filed with the Court via the Court’s CM/ECF electronic filing system and served

upon all counsel registered with CM/ECF on October 3, 2024

                                                    /s/ Lauren E. Hayes
                                                    Lauren E. Hayes




HB: 4857-3273-9308.1
